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                            IN THE UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF GEORGIA
                                       MACON DIVISION

ALDEAN KIMBELL

              Plaintiff,                               CIVIL ACTION FILE
                                                       NO.: 5:22-cv-00288-TES
v.

SUNLIGHT LOGISTICS, INC.,
AJ LOGISTICS, INC.,
AMAZON LOGISTICS, INC.,
COUNTY HALL INSURANCE COMPANY,
INC. AND AFMESHAR WARSAME,

              Defendants.

                             NOTICE OF SUBSTITUTION OF COUNSEL
                            FOR DEFENDANT AMAZON LOGISTICS, INC.

            COMES NOW, Defendant Amazon Logistics, Inc. (“Defendant”) and hereby notifies the

Court and all parties that Matthew R. Sessions and the law firm of McMickle, Kurey & Branch,

LLP are hereby substituted as counsel for Defendant Amazon Logistics, Inc. in place of R. Dal

Burton and Jason S. Stewart and the law firm of Wilson, Elser, Moskowitz, Edelman & Dicker,

LLC, 3348 Peachtree Road, NE, Suite 1400, Atlanta, GA 30326. The undersigned counsel

requests that the Clerk note his appearance and that all further pleadings, notices,

correspondence, and documents of any kind in the above-styled action be served upon counsel

for Defendant at the following address:

                                      Matthew R. Sessions
                                    Georgia Bar No.: 899806
                                  McMickle, Kurey & Branch, LLP
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            Respectfully submitted this 24th day of October, 2022.

                                                 Respectfully submitted,

                                                 By: /s/Matthew R. Sessions
                                                    SCOTT W. MCMICKLE
                                                    Georgia Bar No. 497779
                                                    MATTHEW R. SESSIONS
                                                    Georgia Bar No. 899806
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                                    CERTIFICATE OF SERVICE

            This is to certify that I have electronically filed the foregoing NOTICE OF

SUBSTITUTION OF COUNSEL with the Clerk of Court using the CM/ECF system which

will automatically send email notification of such filing to the following counsel of record:

                                         Jacob A. Weldon, Esq.
                                       jacob@sextonlawfirm.com
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                                        Amazon Logistics, Inc.


            This 24th day of October, 2022.

                                                By: /s/Matthew R. Sessions
                                                   MATTHEW R. SESSIONS
                                                   Georgia Bar No. 899806




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